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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                     FOURTH AMENDED GENERAL ORDER 20-0012

                                          May 26, 2020

                IN RE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY

       Given the public health emergency arising from the COVID-19 pandemic, and consistent

with guidance and orders from federal executive authorities, the State of Illinois, and local

governments, it is hereby ORDERED:

       Amended General Order 20-0012, entered on March 17, 2020; General Order 20-0014,

entered on March 20, 2020; Second Amended General Order 20-0012, entered on March 30,

2020; and Third Amended General Order 20-0012, entered on April 24, 2020, are vacated and

superseded by this Fourth Amended General Order. To protect the public health and welfare,

the United States District Court for the Northern District of Illinois hereby orders, effective May

29, 2020:

                                       Court Remains Open

     1. This Court remains open and accessible, subject to the limitations and procedures set

         forth below.

                                            Civil Cases

     2. The Third Amended General Order 20-0012 extended certain deadlines by 28 days.

         This Fourth Amended General Order does not extend any deadlines in civil cases.

     3. Civil case hearings, bench trials, and settlement conferences may be scheduled and

         conducted by the presiding judge by remote means. In-court hearings are limited to

         urgent matters that cannot be conducted remotely.

     4. Civil jury trials will not be conducted before August 3, 2020, and trials set to begin

         before August 3, 2020, will be reset by the presiding judge.




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                                       Criminal Cases

 5. The Court recognizes and respects the right of criminal defendants, particularly those in

    pretrial detention, to a speedy and public trial under the Sixth Amendment. That said,

    the public health emergency requires that the following procedures be implemented in

    criminal cases:

         a) Grand juries shall continue to meet, with reasonable limits on grand jury

             sessions imposed by the Court in consultation with the U.S. Attorney’s

             Office.

         b) Under Criminal Rule 4.1, a judge may review by reliable electronic

             means, rather than in person, a complaint, application for search

             warrant or trap/trace/pen register, application for wiretap, or application

             for any other warrant or order.

         c) Under Section 15002(b)(1) of the CARES Act, Pub. L. 116-136, 134 Stat.

             281, the Chief Judge of this Court authorizes the use of videoconferencing,

             or teleconferencing if videoconferencing is not reasonably available, for the

             following proceedings, so long as the defendant gives written or verbal

             consent after consultation with counsel:

                i.     Detention hearings under 18 U.S.C. § 3142;

               ii.     Initial appearances under Criminal Rule 5;

              iii.     Preliminary hearings under Criminal Rule 5.1;

              iv.      Waivers of indictment under Criminal Rule 7(b);

               v.      Arraignments under Criminal Rule 10;

              vi.      Probation and supervised release revocation hearings under
                       Criminal Rule 32.1;

              vii.     Pretrial release revocation hearings under 18 U.S.C. § 3148;

             viii.     Appearances under Criminal Rule 40;



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              ix.   Misdemeanor pleas and sentencings under Criminal Rule 43(b)(2); and

               x.   Juvenile proceedings under Title 18, Chapter 403, except for
                    contested transfer hearings, juvenile delinquency adjudication, or trial
                    proceedings.

        d) A defendant who does not object to detention shall, before the scheduled

             detention hearing, notify the presiding judge orally (through counsel) or in

             writing that the defendant has no objection to detention. The decision to

             not object is without prejudice to the defendant’s right to later challenge

             detention and seek pretrial release.

        e) If the parties agree to invoke Section 15002(b)(2)(A) of the CARES Act to

             conduct a felony plea hearing or felony sentencing hearing by

             videoconferencing or teleconferencing, they shall notify the presiding judge,

             who will consult with the Chief Judge regarding the findings required by

             Section 15002(b)(2)(A). Felony plea hearings and felony sentencing hearings

             may be held remotely by teleconferencing only if videoconferencing is not

             reasonably available.

        f)   The court finds that the period of any continuance entered from the date of

             this Fourth Amended General Order through July 15, 2020, as a result of

             this Order shall be excluded under the Speedy Trial Act, 18 U.S.C.

             §3161(h)(7)(A). The court finds that the ends of justice served by the

             exclusion of time outweigh the interests of the parties and the public in a

             speedy trial given the need to protect the health and safety of defendants,

             defense counsel, prosecutors, court staff, and the public by reducing the

             number of in-person hearings to the greatest extent possible.

        g) Criminal jury trials will not be conducted before August 3, 2020, and trials

             scheduled to begin before August 3, 2020, will be reset by the presiding



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             judge. This continuance is necessary because criminal jury trials require: (i)

             the gathering of a large number of persons in the Jury Department; (ii) at

             least 12 jurors seated in the courtroom to hear evidence; (iii) 12 jurors to

             deliberate in the jury room; and (iv) five to six weeks’ notice in advance of

             trial to summon jurors. The advance-notice requirement makes any earlier

             date impractical because it is not known what large-gathering guidelines will

             be in place. Social-distancing guidelines might render juror participation

             difficult or unsafe, including during juror check-in and jury selection. For these

             same reasons, in cases impacted by this trial continuance, the Court

             excludes time under the Speedy Trial Act through August 3, 2020, because

             the ends of justice outweigh the interests of the parties and the public in a

             speedy trial.

        h) Parties proceeding by way of a bench trial in a criminal case must file a

             status report with the presiding judge by June 15, 2020, with a proposal for

             scheduling the bench trial.

        i)   The prior General Orders extended certain deadlines in criminal cases. This

             Fourth Amended General Order extends no deadlines.


                   Emergency Relief in Any Case or from this Order

 6. Any party may seek emergency relief in any case or from this Fourth Amended General

    Order. Emergency motions must be filed in the case in which emergency relief is

    sought. Any emergency motion must be filed (i) electronically via CM/ECF or (ii) for pro

    se non-e-filers, via email as outlined in Paragraph 12. If neither CM/ECF nor email is

    available to a party, then the party may deposit the emergency motion in a courthouse

    drop-box or mail the motion. The emergency motion will be considered as soon as

    practicable by the presiding judge, an emergency judge, or the Chief Judge. Case No.




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    20-cv-01792, which is a docket created to receive emergency motions filed under

    earlier General Orders, is now limited to emergency motions for release from custody.

    Emergency motions for release from custody must be filed on two dockets: (1) the

    docket of the case in which relief is sought and (2) Case No. 20-cv-01792.

 7. For an emergency matter, as defined by Local Rule 77.2(a)(3), that arises during

    business hours (Monday through Friday 7:00 a.m. through 6:00 p.m.), the party shall

    consult the presiding judge’s website and alert the presiding judge’s courtroom deputy

    of the filing. If an emergency matter arises outside of business hours, the party shall

    call (312) 702-8875, leave a message describing the emergency, and provide a return

    telephone number. The Clerk will return the call. Parties should consult the Court’s

    website for up-to-date procedures for emergencies.

                             Clerk’s Office and Filing Options

 8. The District Court Clerk’s Office in the Dirksen United States Courthouse in Chicago,

    Illinois, is closed to public entry through June 15, 2020. Filings in the Eastern Division

    may be: (1) electronically filed via CM/ECF; (2) deposited in the drop-box in the lobby

    of the Dirksen Courthouse during business hours; or (3) mailed to the U.S. District

    Court Clerk’s Office, 219 South Dearborn Street, 20th Floor, Chicago, IL 60604,

    although mail is not being processed on a regular basis. If a filing is mailed by a

    prisoner, the traditional “mail box” rule shall govern its filing date. Given the public

    health emergency and the current inability of the Clerk’s Office to process mail in the

    ordinary course, if a filing is mailed by a non-prisoner, the filing date shall be deemed to

    be the postmark date, subject to any party’s right to move that a different date be used.

    No in-person deliveries of any kind may be made to a judge’s chambers or to the

    Clerk’s Office.

 9. The District Court Clerk’s Office in the Stanley J. Roszkowski United States Courthouse

    in Rockford, Illinois, is closed to public entry through June 15, 2020. Filings in the



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    Western Division may be: (i) electronically filed via CM/ECF; (ii) deposited in the drop

    box located on the 2nd floor of the Roszkowski United States Courthouse during

    business hours; (iii) mailed to U.S. District Court Clerk’s Office, 327 South Church

    Street, Rockford, IL 61101, although mail is not being processed on a regular basis; or

    (iv) deposited in the drop box in the lobby of the Dirksen Courthouse during business

    hours. If a filing is mailed by a prisoner, the traditional “mail box” rule shall govern its

    filing date. Given the public health emergency and the current inability of the Clerk’s

    Office to process mail in the ordinary course, if a filing is mailed by a non-prisoner, the

    filing date shall be deemed to be the postmark date, subject to any party’s right to move

    that a different date be used. No in-person deliveries of any kind may be made to a

    judge’s chambers or to the Clerk’s Office.

                       Suspension of Local Rules 5.2(f) and 5.3(b)

 10. The Court suspends Local Rule 5.2(f), which requires in many instances that paper

    courtesy copies of filings be delivered to the judge, through July 15, 2020. No courtesy

    copies may be submitted for filings made through July 15, 2020.

 11. Although parties may continue to file non-emergency motions, the Court suspends

    Local Rule 5.3(b), which otherwise requires that all motions be noticed for presentment.

    For non-emergency motions, no motion may be noticed for presentment on a date

    earlier than July 15, 2020. For notices of presentment on and after July 15, 2020,

    parties must consult each judges’ presentment schedule because judges may

    continue to suspend the presentment requirement and may schedule motions at limited

    times.

                          Email Filing Option for Pro Se Parties

 12. The Court suspends through July 15, 2020, the prohibition against pro se parties

    emailing their filings to the Clerk’s Office. From now through July 15, 2020, the Court

    will accept filings from pro se litigants via email that comply with these requirements: (i)



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    the filing must be in PDF format; (ii) the filing must be signed s/ [filer’s name] or bear a

    handwritten signature; (iii) the email must be sent to Temporary_E-

    Filing@ilnd.uscourts.gov; (iv) the email must state the party’s name, address, and

    phone number; (v) for existing cases, the email’s subject line must read: “Pro Se Filing

    [Insert Your Case Number]”, and for new cases, the email’s subject line must read: “Pro

    Se Filing in New Case”. E-mails that do not comply with these requirements will not be

    reviewed and will not be considered a proper filing.

                            Suspension of Public Gatherings

 13. All public gatherings are suspended through July 15, 2020, at both the Everett

    McKinley Dirksen U.S. Courthouse in Chicago and the Stanley J. Roszkowski U.S.

    Courthouse in Rockford. This includes, but is not limited to, group tours and visits, moot

    courts and mock trials, bar group meetings, seminars, and naturalization ceremonies.

    Also suspended are in-court proceedings for Second Chance reentry court, SOAR

    Court, Veterans Treatment court, and Petty Offense (CVB). Notwithstanding this

    suspension, court proceedings allowed by another provision of this Order may take

    place.

                                  Additional Provisions

 14. This Fourth Amended General Order does not affect the authority of judges to enter

    orders in any civil or criminal cases. The parties must consult individual judges’

    websites for any modifications to the case-management requirements of this Order.

 15. The Court will vacate, amend, or extend this Fourth Amended General Order no later

    than July 13, 2020.

 16. The Clerk of Court shall distribute this Fourth Amended General Order: by electronic

    service on all registered CM/ECF users; by electronically posting the Order on the

    Court’s public website; by making printed copies available at the entrances of the

    Dirksen and Roszkowski Courthouses. In addition, the Clerk of Court shall send a copy



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       of this Order, either electronically or by mail, to the Illinois Department of Corrections

       (IDOC), all IDOC prison or detention facilities, the Illinois Department of Human

       Services Division of Mental Health Treatment and Detention Facility, and all county jails

       in this District; the warden, sheriff, or director of each prison, jail, or detention facility is

       directed to use reasonable means to notify persons incarcerated or detained therein of

       this Order and to allow access to this Order. In addition, the Clerk of Court shall docket

       this Order in each open civil and criminal case. Printed copies will not be mailed to non-

       CM/ECF users due to the heavy burden such mailings would place on the Clerk’s

       Office.

                                               ENTER:

                                               FOR THE COURT:



                                               _________________ _________________
                                                            Chief Judge

Dated at Chicago, Illinois this 26th day of May 2020




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